
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-03-162-CV

JIM F. HUFFINE	APPELLANT



V.



BANK OF AMERICA, N.A. &nbsp;&nbsp;	APPELLEE





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FROM THE 67
TH
 DISTRICT COURT OF TARRANT COUNTY

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MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

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On August 26, 2003, we notified appellant that his brief had not been filed as required by T
EX.
 R. A
PP.
 P. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.

Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.								

PER CURIAM 





PANEL D:	CAYCE, C.J.; DAY and LIVINGSTON, JJ. 



DELIVERED: September 25, 2003



FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




